Case 1:18-Cv-00068 Document 233 Filed in TXSD on 07/23/18 Page 1 of 1
§§ “s'f‘s:;a”f.°¢‘r°°"".»
l
w °m men

 

JUL 2 3 2018
uNITED sTATEs Dlsrrucr CouRT souTHERN DisTRlcT oF TExAs

David J. Brad|ey, Clerk of ¢“;.

Motion and Order for Admission Pro Hac Vice

 

 

 

 

Division Brownsvi||e Case Number 1 :18-cv-0068-ASH

 

STATE OF TEXAS, et a|.,

 

V€rSuS

UN|TED STATES OF AMER|CA, et al., and KARLA PEREZ, et al.,

 

 

 

 

 

 

 

 

Lawyer_’s Name Sirine Shebaya
Flrm Mus|im Advocates
, Str€ef Po Box 66408
T§‘e‘;}f;n:‘§§°md:il Washington, Do 20035
Licensed: State & Number §Q2-_897-1894; sm_ne:@mus|lmadvocates.org
Federal Bar &Number lstrlct of Co|umbla, 019748

Name Ofparty applicant Seeks to Proposed Amici Re|igious Organizations
appear fort
Has applicant been sanctioned by any bar association or court? Yes No \/

On a separate sheet for each sanction, please supply the full particulars

 

 

Dated:

 

7/17/2018 Sig’“"d: /s/ sirine Shebaya

\

The state bar reports that the applicant’s status is: A (/ \/ g
g

Dated:.? ’33 ~'/ 8 Clerk’s signature M bc

Order

 

 

 

 

 

 

 

 

 

 

 

 

This lawyer is admitted pro hac vice.

 

Dated:

 

 

United States District Judge

